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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MIA CRAGER, #300172
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     CRISTINA VANBEEK
6
7
8                                    UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     ) Case No. 2:19-CR-0029-JAM
                                                   )
11                           Plaintiff,            ) WAIVER OF PERSONAL APPEARANCE
                                                   )
12         v.                                      )
                                                   )
13   CRISTINA VANBEEK,                             ) Judge: Hon. John A. Mendez
                                                   )
14                           Defendant.            )
                                                   )
15
16
17          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, CRISTINA VANBEEK
18   hereby waives the right to be present in person in open court upon the hearing of any motion or
19   other proceeding in this case, including, but not limited to, when the case is set for trial, when a

20   continuance is ordered, and when any other action is taken by the court before or after trial,
     specifically, appearance for any hearing regarding modification of conditions of supervised
21
     release, except upon arraignment, plea, impanelment of a jury and imposition of sentence.
22
            Defendant hereby requests the Court to proceed during every absence which the Court
23
     may permit pursuant to this waiver; agrees that defendant’s interests will be deemed represented
24
     at all times by the presence of the defendant’s attorney, the same as if the defendant were
25
     personally present; and further agrees to be present in court ready for trial any day and hour the
26
     Court may fix in the defendant’s absence.
27
            The defendant Further acknowledges being informed of the rights under Title 18 U.S.C.
28

      Waiver of Appearance                            -1-
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1    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
2    under that Act without the defendant’s personal presence.
3           The original signed copy of this waiver is being preserved by the attorney undersigned.
4    original signed copy of this waiver is being preserved by the attorney undersigned.
5    Dated: March 30, 2019
6
                                                  /s/ CRISTINA VANBEEK
7
                                                  CRISTINA VANBEEK
8                                                 (Original retained by attorney)

9
10          I agree and consent to my client’s waiver of appearance.

11   Dated: April 1, 2019
                                                  /s/ Mia Crager
12                                                MIA CRAGER
                                                  Assistant Federal Defender
13
                                                  Attorney for Defendant
14                                                CRISTINA VANBEEK

15          IT IS SO ORDERED.

16   Dated: 4/1/2019                              /s/ John A. Mendez__________
                                                  JOHN A. MENDEZ
17
                                                  United Stated District Court Judge
18
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28

      Waiver of Appearance                          -2-
